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                       NOS. 24-1820, 24-1821

           IN THE UNITED STATES COURT OF
           APPEALS FOR THE THIRD CIRCUIT
                              ________________
                       BRISTOL MYERS SQUIBB COMPANY,
                                             Plaintiff-Appellant,
                                     v.

                           XAVIER BACERRA, ET AL.,
                                              Defendants-Appellees.
                              ________________
                       JANSSEN PHARMACEUTICALS, INC.,
                                            Plaintiff-Appellant,
                                    v.

                         XAVIER BACERRA, ET AL.,
                                                Defendants-Appellees.
                             ________________
                On Appeal from the United States District
                    Court for the District of New Jersey
  (Case Nos. 23-cv-3335 & 23-cv-3818) (District Judge Zahid N. Quraishi)
                             ________________

   BRIEF OF WASHINGTON LEGAL FOUNDATION AS AMICUS
     CURIAE SUPPORTING APPELLANTS AND REVERSAL
                    ________________
                         John M. Masslon II
                         Cory L. Andrews
                         WASHINGTON LEGAL FOUNDATION
                         2009 Massachusetts Ave. NW
                         Washington, DC 20036
                         (202) 588-0302
                         jmasslon@wlf.org

                                    Counsel for Amicus Curiae
July 15, 2024                       Washington Legal Foundation
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                    United States Court of Appeals for the Third Circuit


                              Corporate Disclosure Statement and
                                Statement of Financial Interest

                                                   24-1820, 24-1821
                                             No. _________
                 Bristol Myers Squibb Company & Janssen Pharmaceuticals,
                 Inc.

                                                            v.
                 Xavier Bacerra, et al.



                                                 Instructions

                 Pursuant to Rule 26.1, Federal Rules of Appellate Procedure any nongovernmental
corporate party to a proceeding before this Court must file a statement identifying all of its parent
corporations and listing any publicly held company that owns 10% or more of the party’s stock.

                  Third Circuit LAR 26.1(b) requires that every party to an appeal must identify on the
Corporate Disclosure Statement required by Rule 26.1, Federal Rules of Appellate Procedure, every
publicly owned corporation not a party to the appeal, if any, that has a financial interest in the outcome of
the litigation and the nature of that interest. This information need be provided only if a party has
something to report under that section of the LAR.

                  In all bankruptcy appeals counsel for the debtor or trustee of the bankruptcy estate shall
provide a list identifying: 1) the debtor if not named in the caption; 2) the members of the creditors’
committee or the top 20 unsecured creditors; and, 3) any entity not named in the caption which is an
active participant in the bankruptcy proceedings. If the debtor or the bankruptcy estate is not a party to the
proceedings before this Court, the appellant must file this list. LAR 26.1(c).

                The purpose of collecting the information in the Corporate Disclosure and Financial
Interest Statements is to provide the judges with information about any conflicts of interest which would
prevent them from hearing the case.

                  The completed Corporate Disclosure Statement and Statement of Financial Interest Form
must, if required, must be filed upon the filing of a motion, response, petition or answer in this Court, or
upon the filing of the party’s principal brief, whichever occurs first. A copy of the statement must also be
included in the party’s principal brief before the table of contents regardless of whether the statement has
previously been filed. Rule 26.1(b) and (c), Federal Rules of Appellate Procedure.

                 If additional space is needed, please attach a new page.


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Pursuant to Rule 26.1 and Third Circuit LAR 26.1,
                                                         Washington Legal Foundation
makes the following disclosure:                                     (Name of Party)

              1) For non-governmental corporate parties please list all parent
corporations: none


            2) For non-governmental corporate parties please list all publicly held
companies that hold 10% or more of the party’s stock:
none




               3) If there is a publicly held corporation which is not a party to the
proceeding before this Court but which has as a financial interest in the outcome of the
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               4) In all bankruptcy appeals counsel for the debtor or trustee of the
bankruptcy estate must list: 1) the debtor, if not identified in the case caption; 2) the
members of the creditors’ committee or the top 20 unsecured creditors; and, 3) any
entity not named in the caption which is active participant in the bankruptcy proceeding.
If the debtor or trustee is not participating in the appeal, this information must be
provided by appellant.
n/a




                                                         Dated: July 15, 2024
(Signature of Counsel or Party)


rev: 09/2014                       (Page 2 of 2)
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                    INTEREST OF AMICUS CURIAE*

        Washington Legal Foundation is a nonprofit, public-interest law

firm and policy center with supporters nationwide. WLF promotes free

enterprise, individual rights, limited government, and the rule of law. It

often    appears    as    amicus   opposing    government      programs     that

unconstitutionally take private property without just compensation. See,

e.g., Horne v. Dep’t of Agric., 576 U.S. 350 (2015). It also appears as

amicus to oppose the government’s withholding federal funds because an

organization refuses to espouse the government’s views. See, e.g., Agency

for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 591 U.S. 430 (2020).

                              INTRODUCTION

        The Inflation Reduction Act of 2022, Pub. L. No. 117-169, 136 Stat.

1818, included an unprecedented provision that ended decades of a

market-based system for prescription-drug reimbursement. In its place,

the IRA enacted the laughably named “Drug Price Negotiation Program.”

The Program requires pharmaceutical manufacturers to engage in sham




        * No party’s counsel authored any part of this brief. No one, apart

from WLF and its counsel, contributed money intended to fund the brief’s
preparation or submission. All parties consented to WLF’s filing this
brief.
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“negotiations,” which ultimately determine the prices for some of the

most important and most prescribed drugs in the world.

        Under the IRA, no statutory standard controls how the government

sets the prices, and no judicial review of that process is possible. Rather,

the Centers for Medicare & Medicaid Services has total discretion when

choosing prices. For example, CMS could decide that a drug that sells for

$1,000 per pill on the open market will be reimbursed at only $0.01 per

pill.

        There is no escape hatch for pharmaceutical manufacturers that

do not wish to participate in the Program. The government is essentially

strong-arming pharmaceutical manufacturers to fix their prices. If the

pharmaceutical manufacturers “negotiate” with the government and

agree to prices that the government thinks are “fair,” then the

government takes valuable drugs for below-market prices and the

incentive    to   innovate    plummets.     But    if   the   pharmaceutical

manufacturers decline to negotiate, they face a penalty so steep that even

Congress thought that not one pharmaceutical manufacturer would be

dumb enough to pick that option. The only remaining choice, we are told,

is for pharmaceutical manufacturers to stop participating in Medicare



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and Medicaid. But even if that were possible—and it’s not—exiting

Medicare and Medicaid is not financially feasible. So in the end, the

government is taking property without just compensation. Because the

Constitution forbids uncompensated takings, the District Court erred in

entering summary judgment for Defendants.

                              STATEMENT

     Most elderly and disabled Americans receive their health

insurance—including prescription-drug coverage—through Medicare.

Like other insurers, Medicare does not regulate prices. Rather, it

reimburses providers for services and products provided to plan

participants. For drugs furnished incident to a physician’s services,

reimbursement is based on market prices. Similarly, reimbursement is

also market-based for drugs not administered by physicians; the method

for deciding the market-based price is just different.

     The Program, however, directly sets the prices that pharmaceutical

manufacturers must sell some drugs for. Each year, CMS announces new

drugs that are subject to the Program. The drug-selection process is

dictated by statute. Price-setting, on the other hand, is largely left to

CMS’s discretion. With one minor exception, there is no floor for the price



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set by CMS—only a ceiling. Below the ceiling, CMS can set any price it

chooses.

     Walking away from the Program is not an option. There are steep

daily penalties for any manufacturer that fails to participate in the

Program. The only way for a pharmaceutical manufacturer to escape

those penalties is to completely withdraw from Medicare and Medicaid.

Yet even if a manufacturer could bear the costs of withdrawing from

Medicare and Medicaid, they cannot do so for between 11 and 23 months.

Thus, they are forced to either participate in the Program during that

time or face the IRA’s staggering penalties.

     After the IRA’s enactment, Bristol Myers Squibb and Janssen sued,

challenging the Program’s constitutionality. While the case was pending,

CMS announced the first ten drugs to be included in the Program. Those

drugs included Bristol Myers Squibb’s Eliquis (used to prevent blood clots

and strokes) and Janssen’s Xarelto (also used to prevent blood clots and

strokes) and Stelara (used to treat psoriatic arthritis).

     The District Court granted Defendants’ summary-judgment

motions. It found that (1) the Program is not a taking under the Fifth

Amendment; (2) the Program is voluntary; (3) the Program does not



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compel Plaintiffs to speak; and (4) given the first three holdings, there

were no viable unconstitutional conditions claims. In other words, the

District Court reached the merits of Plaintiffs’ claims but denied relief.

                       SUMMARY OF ARGUMENT

      I.A. Pharmaceutical manufacturers lack any choice whether to

participate in the Program. The District Court’s holding that

pharmaceutical manufacturers can simply withdraw from Medicare and

Medicaid glosses over statutes prohibiting such withdrawal without 11

to 23 months’ notice. Defendants’ interpretation of the statutes, which

the District Court adopted, is wrong as a matter of law because it conflicts

with the statutes’ plain language. At minimum, pharmaceutical

manufacturers must participate in the Program for between 11 and 23

months.

      B. Even if pharmaceutical manufacturers could immediately

withdraw from the Program, participation in the Program is involuntary.

Those programs account for about half of all pharmaceutical purchases

in   the   United   States.   Thus,   it   is    economically   crippling   for

pharmaceutical manufacturers not to participate in the Program.




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     C. The last way Defendants argue that participating in the

Program is voluntary is that pharmaceutical manufacturers can choose

to pay the “excise tax” instead of participating in the Program. But

everyone from the Joint Committee on Taxation to the Congressional

Budget Office recognizes that this is not a choice for pharmaceutical

manufacturers. The excise tax requires pharmaceutical manufacturers

to increase their prices by 1,900%. No rational actor would choose to pay

that “tax.”

     II. Even if participation in the Program were voluntary, requiring

pharmaceutical companies to provide drugs at a deep discount is an

unconstitutional condition. Congress cannot force pharmaceutical

manufacturers to forfeit their right to be free from uncompensated

takings as a condition of participating in the Medicare and Medicaid

programs. Yet that is what the Program requires.

     III. The Program severely limits the potential profits that

pharmaceutical manufacturers can make from developing expensive, life-

saving drugs. They may even have to give away their products at a loss.

That will slow innovation in the pharmaceutical space because the

number of research projects with a positive expected value will fall. This



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decreased innovation means that fewer new drugs that improve

Americans’ lives will come to market. In other words, some people will

likely lose their lives if pharmaceutical manufacturers must participate

in the Program.

                              ARGUMENT

I.   PHARMACEUTICAL MANUFACTURERS’ PARTICIPATION IN THE
     PROGRAM IS INVOLUNTARY.

     The District Court found that Plaintiffs’ participation in the

Program is “voluntary.” This erroneous holding warrants reversing and

remanding for entry of judgment in Plaintiffs’ favor.

     A.    The District Court Incorrectly Adopted Defendants’
           Erroneous     Statutory  Interpretation Permitting
           Plaintiffs To Withdraw From Medicare And Medicaid
           With 30 Days’ Notice.

     In analyzing whether Program participation is voluntary, the

District Court relied on Defendants’ representations at oral argument

rather than reading the statutes. Pharmaceutical manufacturers must

participate in the Program for at least 11 to 23 months. This is because

to   withdraw     from    Medicare        and    Medicaid,     pharmaceutical

manufacturers must give that much notice before withdrawing.




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     The relevant statute provides that a decision to withdraw from

Medicare and Medicaid is effective on January 1 of the following year if

notice is given “before January 30” and “if the [withdrawal] occurs on or

after January 30 of a plan year,” the notice is effective “as of the day after

the end of the succeeding plan year.” 42 U.S.C. § 1395w-114a(b)(4)(B)(ii).

In other words, the quickest that a pharmaceutical manufacturer can

withdraw from Medicare is in 11 months if notice is given on January 30.

If notice is given on January 31, the pharmaceutical company must wait

23 months to withdraw.

     The District Court, however, rejected this argument in a single

footnote without citing the statutory language or engaging in any

statutory analysis. Rather, the District Court’s footnote addressing

whether pharmaceutical manufacturers may withdraw from the

Program cites only statements from Defendants’ attorneys at oral

argument and Defendants’ brief. This was error. As the Supreme Court

has repeatedly admonished, the “trust us” argument from the

government must be disregarded. The Constitution “does not leave us at

the mercy of noblesse oblige.” United States v. Stevens, 559 U.S. 460, 480




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(2010); see FCC v. Fox Television Stations, Inc., 567 U.S. 239, 255 (2012)

(applying the rule in the administrative context).

     Defendants contend that pharmaceutical manufacturers can

withdraw with 30 days’ notice. And the District Court bought that

argument. In its view, “the HHS Secretary can terminate a

manufacturer’s agreement before the manufacturer would incur liability

for any excise tax, so long as the manufacturer notifies CMS of its desire

to withdraw at least 30 days in advance of when that tax would otherwise

begin to accrue.” J.A. 6 n.8 (cleaned up). This distorts the statute.

     The statute relied on by Defendants and the District Court provides

that the Secretary may terminate a pharmaceutical manufacturer’s

participation in Medicare and Medicaid “for a knowing and willful

violation of the requirements of the agreement or other good cause

shown. . . . The Secretary shall provide, upon request, a manufacturer

with a hearing concerning such a termination.” 42 U.S.C. § 1395w-

114a(b)(4)(B)(i). As the statute’s plain language shows, this is a punitive

provision.

     The statute identifies two ways for pharmaceutical manufacturers

to exit Medicare. The first is after the 11-to-23 month waiting period



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when the pharmaceutical manufacturer provides notice of its intent to

withdraw from Medicare. The second requires the Secretary to kick

pharmaceutical manufacturers out of Medicare involuntarily because of

misconduct. Treating a manufacturer’s own request for termination as a

punitive agency action would mean that a manufacturer receives a

hearing on its own purportedly voluntary exit from Medicare. That is

nonsensical.

     The “good cause shown” provision in Section 1395w-114a(b)(4)(B)(i)

does not include a manufacturer’s voluntary termination. Such an

interpretation disregards the “knowing and willful violation” language,

which limits the meaning of “other good cause shown.” See Dubin v.

United States, 599 U.S. 110, 124 (2023) (“Under the familiar interpretive

canon noscitur a sociis, a word is known by the company it keeps.”

(cleaned up)); United States v. Henderson, 80 F.4th 207, 213 (3d Cir.

2023) (“A term in a statute is given more precise content by the

neighboring words with which it is associated.” (cleaned up)).

     Moreover, including pharmaceutical manufacturers’ voluntary

withdrawals    from    Medicare       and   Medicaid    in   Section    1395w-

114a(b)(4)(B)(i)   makes     Section        1395w-114a(b)(4)(B)(ii)     “wholly



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superfluous.” Rowland v. Bissell Homecare, Inc., 73 F.4th 177, 182 (3d

Cir. 2023) (quoting Duncan v. Walker, 533 U.S. 167, 174 (2001)). The

superfluidity problem here is magnified because it “would render

superfluous another part of the same statutory scheme.” Marx v. Gen.

Revenue Corp., 568 U.S. 371, 386 (2013).

     That is not the only superfluidity problem with Defendants’ and the

District Court’s interpretation of Section 1395w-114a(b)(4)(B)(i). It also

makes the due-process protections included in the statute superfluous.

There is no reason for a pharmaceutical manufacturer to request a

hearing if they want out of Medicare and Medicaid. Such a hearing would

only delay the exit it seeks. The due-process protection is included in the

statute because that section is meant to be punitive. In other words,

Congress recognized that to prevent the Secretary from acting arbitrarily

it must protect pharmaceutical manufacturers that the Secretary seeks

to punish. Allowing pharmaceutical manufacturers to withdraw from

Medicare with only 30 days’ notice instead of 11 to 23 months’ notice is

not punishment. Rather, it is an ultra vires action.

     True, CMS issued non-binding guidance that adopted Defendants’

and the District Court’s interpretation of “good cause.” But a “core



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administrative-law principle” is that “an agency may not rewrite clear

statutory terms to suit its own sense of how the statute should operate.”

Madrid-Mancia v. Att’y Gen. of U.S., 72 F.4th 508, 520 (3d Cir. 2023)

(quoting Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 328 (2014)). Allowing

CMS to rewrite the statute so that pharmaceutical manufacturers can

withdraw from Medicare and Medicaid with only 30 days’ notice “would

deal a severe blow to the Constitution’s separation of powers.” Util. Air

Regul. Grp., 573 U.S. at 327. Thus, the District Court erred in holding

that pharmaceutical manufacturers could withdraw from Medicare and

Medicaid after giving only 30 days’ notice. Plaintiffs’ participation in the

Program is therefore involuntary.

     B.    Even If Plaintiffs Could Withdraw From Medicare And
           Medicaid With 30 Days’ Notice, Their Participation In
           The Program Is Involuntary.

     Even if the District Court were correct, and Plaintiffs could

withdraw from Medicare and Medicaid with only 30 days’ notice, that

does not make their participation in the Program voluntary. A careful

examination of how America’s pharmaceutical industry works shows that

Plaintiffs lack a meaningful choice. Thus, their participation in the

Program is involuntary.



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     Imagine someone points a gun at your head and tells you that if you

don’t hand over your car keys they will kill you. You have a choice. You

can either hand over your car keys and live to see another day, or you can

refuse and be killed. According to the District Court, if you turn over your

car keys that action was voluntary. The absurdity of such a statement is

self-evident. You did not act voluntarily. Rather, you acted under duress

and turned over your keys because the alternative was not a reasonable

option.

     The law “place[s] some limits upon negotiators’ ability to use

superior bargaining power to coerce acquiescence with their demands.”

Russell Korobkin et al., The Law of Bargaining, 87 Marq. L. Rev. 839,

841 (2004). When a party signs a contract under duress, the agreement

is voidable. See Ian Ayres & Richard E. Speidel, Contract Law 559 (7th

ed. 2008) (citation omitted). Duress occurs when “a party’s manifestation

of assent is induced by an improper threat by the other party that leaves

the victim no reasonable alternative.” Restatement (Second) of Contracts

§ 175(1) (1981).

     The government cannot put a party between “the rock and the

whirlpool.” United States v. Butler, 297 U.S. 1, 72 (1936) (quotation



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omitted). This is because “[i]t would be a palpable incongruity to” bar the

government from pressuring private parties to act “by words of express

divestment” but allow the pressure by “an act by which the same result

is accomplished under the guise of a surrender of a right in exchange for

a valuable privilege which the state threatens otherwise to withhold.”

Frost v. R.R. Comm’n of Cal., 271 U.S. 583, 593 (1926).

     The Supreme Court has struck down a federal statute for a less

egregious form of coercion than is present here. In the Patient Protection

and Affordable Care Act, Congress threatened to end all Medicaid

funding if States failed to expand their Medicaid programs. Despite the

expansion being “in form voluntary,” Frost, 271 U.S. at 593, the Court

held that “[t]he threatened loss of over 10 percent of a State’s overall

budget . . . is economic dragooning that leaves the States with no real

option but to acquiesce in the Medicaid expansion.” Nat’l Fed’n of Indep.

Bus. v. Sebelius, 567 U.S. 519, 582 (2012). In other words, Congress

placed “a gun to the head” of the States. Id. at 581. This, the Court held,

Congress could not do and thus struck down the Medicaid expansion as

unconstitutional.




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     The Program is far more coercive than the Medicaid expansion the

Court considered in NFIB. There, federal Medicaid funding was 10% of

States’ revenues. Here, Medicaid and Medicare account for almost half of

all prescription-drug spending in the United States. See Sanofi Aventis

U.S. LLC v. U.S. Dep’t of Health & Hum. Servs., 58 F.4th 696, 699 (3d

Cir. 2023) (citing CBO, Prescription Drugs: Spending, Use, and Prices, 8

(2022),     https://perma.cc/7AUF-LJHD).            In     other     words,       if   a

pharmaceutical manufacturer wanted to opt out of the Program, it would

have to forfeit about half of its revenues in the United States. That is five

times the amount that the Court found unconstitutionally coercive in

NFIB.

     There was arguably a constitutional way for Congress to

accomplish most of its goals when expanding Medicaid in 2010. It could

have provided increased federal funding for Medicaid to States that chose

to expand Medicaid. This would have given States a real choice on

whether to expand Medicaid. But it chose a different, unconstitutional

path. It did the same here. Congress could have capped Medicare and

Medicaid reimbursements for the drugs identified by CMS. That would

have still been coercive because of the high percentage of prescriptions



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Medicare and Medicaid cover. But it would have at least had a fighting

chance at surviving a constitutional challenge.

     A pharmaceutical manufacturer’s participation in the Program is

not tied only to the drugs identified by CMS. Rather, all drugs the

manufacturer makes are excluded from Medicare and Medicaid if the

manufacturer opts out after giving the required 11-to-23 months’ notice.

A pharmaceutical manufacturer’s entire corporate structure must choose

to either participate in the Program or completely leave Medicare and

Medicaid. In other words, a pharmaceutical manufacturer cannot

withdraw only one drug if it believes CMS’s maximum fair prices are

unreasonable. Thus, even if a pharmaceutical manufacturer could

withdraw from Medicare and Medicaid with 30 days’ notice, its

participation in the Program is involuntary.

     C.    There Is Little Dispute That Paying The “Excise Tax”
           Is Not An Option.

     The only other way to avoid participating in the Program is for

pharmaceutical manufacturers to pay an excise tax. But it is not actually

a tax. As the then-Speaker of the House of Representatives explained,

pharmaceutical manufacturers would face a “steep, escalating penalty” if

they failed to participate in the Program. Nancy Pelosi, H.R. 3 — Title


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Summary (Sept. 19, 2019) (emphasis added), https://perma.cc/YTF6-

ULEH. The Joint Committee on Taxation and the Congressional Budget

Office agreed that no pharmaceutical manufacturers would choose to pay

the excise tax because they were, in fact, draconian penalties. That is

why, despite the IRA’s calling it a tax, both estimated that the tax would

raise no money because no manufacturer could afford to pay it. See Joint

Comm. on Tax’n, Estimated Budget Effects of the Revenue Provisions of

Title XIII — Committee on Ways and Means, of H.R. 5376, The “Build

Back Better Act,” 8 (Nov. 19, 2021), https://perma.cc/E3Y4-ZRYF; CBO,

Estimated Budgetary Effects of Public Law 117-169, 5 (Sept. 7, 2022),

https://perma.cc/6G7C-T4BZ.

      The reason that pharmaceutical manufacturers cannot afford—

and therefore cannot choose—to pay the excise tax is because it would

pose an existential threat to their businesses. The tax covers all

domestic sales of the drugs at issue, not just Medicare sales. Because of

how the tax is calculated, “[t]he excise tax rate” thus “range[s] from

185.71% to 1,900% of the selected drug’s price depending on the duration

of noncompliance.” Cong. Rsch. Serv., Tax Provisions in the Inflation

Reduction    Act   of    2022    (H.R.      5376),    4   (Aug.     10,   2022),



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https://perma.cc/HUC9-FDQZ.           In     other    words,   the   tax   forces

pharmaceutical manufacturers to raise their prices from 185-1,900%.

That means that if a drug “cost $10 pre-tax, it would cost $200 post-tax

with $190 of the $200 cost (or 95%, the applicable percentage) being

attributable to the excise tax.” Id. No company in the world would make

that choice. There is nothing “voluntary” about it.

                              *        *       *

      In short, the IRA nominally gives pharmaceutical manufacturers

three options. First, participate in the Program. Second, withdraw from

Medicare and Medicaid. Or third, pay the excise tax. But, in reality, the

IRA aims a gun at the pharmaceutical manufacturers and tells them

that they must either participate in the Program or choose bankruptcy

via one of two routes. This is not a real choice. Rather, it is illegal

economic coercion.

II.   EVEN IF PARTICIPATION IN THE PROGRAM WERE VOLUNTARY, IT
      IS AN UNCONSTITUTIONAL CONDITION.

      The government may not condition participation in a program on a

party giving up its constitutional rights. See Koslow v. Pennsylvania, 302

F.3d 161, 174 (3d Cir. 2002) (explaining the protections private parties

enjoy from unconstitutional conditions). This means that the government


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cannot, as a condition of participating in a program, require companies

to forfeit their “right to just compensation.” Koontz v. St. Johns River

Water Mgmt. Dist., 570 U.S. 595, 604 (2013).

     True, the government may place some conditions on companies’

participation in federal programs. But for those conditions to pass

constitutional muster they must “further the end advanced as the

justification for the” conditions. Nollan v. Cal. Coastal Comm’n, 483

U.S. 825, 837 (1987). They must also be “rough[ly] proportiona[te]” to

the benefit. Dolan v. City of Tigard, 512 U.S. 374, 391 (1994). The IRA’s

conditions fail both prongs of this test.

     First, the Program requires pharmaceutical manufacturers to sell

some of their products at a deeply discounted rate or else see a penalty

imposed on all the manufacturers’ drugs. If the justification is a lower

price on drug A, restricting reimbursements for drugs B and C does not

further that purpose. Drugs B and C are being used as pawns by CMS

to persuade pharmaceutical manufacturers to do what it wants.

     Second,     threatening    pharmaceutical     manufacturers          with

restrictions on their non-Program drugs is not roughly proportionate to

the benefit of lower prices on Program drugs. Most pharmaceutical



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manufacturers have dozens of drugs that are covered by Medicare and

Medicaid. Barring reimbursements for those other drugs because a

manufacturer declines to give away one drug at a deeply discounted

price is not proportional—it exemplifies disproportionate conditions.

Thus, even if participating in the Program is voluntary, the IRA’s

conditions are unconstitutional.

III. AFFIRMING THE DISTRICT COURT’S ORDER WILL DECREASE
     PHARMACEUTICAL MANUFACTURERS’ INCENTIVE TO INNOVATE.

     One reason that pharmaceutical manufacturers devote their

limited resources to developing drugs is that they can recover more than

their research and development costs when they develop life-saving and

life-improving drugs. A recent study shows just how expensive it is to

bring new drugs to market. “Between 2009 and 2018, the FDA approved

355 new drugs and biologics.” Oliver J. Wouters et al., Estimated

Research and Development Investment Needed to Bring a New Medicine

to Market, 2009-2018, 323 J. Am. Med. Ass’n 844, 848 (2020). The average

cost of getting each drug to market was $1,559,100,000. See id. That

number, however, may underreport the costs of preclinical trials.

Factoring in that potential underreporting, the average cost of bringing




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a single drug to market is between $1,782,200,000 and $2,194,100,000.

See id. at 850.

     Of course, averages are just that. The actual cost for bringing a drug

to market varies widely. For example, it cost only $143,200,000 to bring

Crofelemer (an antidiarrhea drug) to market. Wouters, 323 J. Am. Med.

Ass’n at 848. But it cost almost 52 times that amount—$7,424,200,000—

to bring Dupilumab (a drug for eczema) to market. See id. To put that

latter figure in perspective, it cost the same to bring one drug to market

as Lyft’s entire market capitalization. See Lyft, CompaniesMarketCap

(Apr. 4, 2024), https://perma.cc/8J22-CS9G.

     Despite the enormous costs of bringing drugs to market, the

number of drugs that have become available has gone up over the past

decade. See CBO, Research & Development in the Pharmaceutical

Industry, 1 (Apr. 2021), https://perma.cc/D8L4-3XUQ. This is because the

amount that pharmaceutical manufacturers spend on research and

development today “is about 10 times what the industry spent per year

in the 1980s, after adjusting for the effects of inflation.” Id. The

percentage of revenues spent on research and development has also




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doubled over the past two decades. See id. In other words, pharmaceutical

manufacturers see a reason to innovate in the current market.

     The reason that pharmaceutical manufacturers are willing to

increase their investment in research and development makes sense to

any undergraduate economics major. Pharmaceutical manufacturers’

“spending decisions depend on” the “[a]nticipated lifetime global

revenues from a new drug.” Research & Development in the

Pharmaceutical Industry at 1. The anticipated lifetime revenue from

drugs will plummet with the Program in place. Like most products,

pharmaceutical manufacturers have a point estimate of how much

revenue a drug will produce. But there are error bars around that

estimate. In other words, the amount of revenue could be higher or lower.

     Contrary to Defendants’ arguments, CMS is not a normal

participant in the prescription-drug market. As noted above, Medicare

supports about half of the pharmaceutical expenditures in the United

States. Sanofi, 58 F.4th at 699 (citation omitted). That means that even

if every other participant in the market were a single individual, the

Herfindahl-Hirschman Index would be 2,500—well above the 1,800

lower-bound for a “highly-concentrated” market. See U.S. Dep’t of Justice



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& Fed. Trade Comm’n, Merger Guidelines § 2.1 (2023). That one market

participant is so large that it alone pushes the HHI above 1,800 shows

that CMS is not a normal market participant.

     That is why the Program essentially cuts off the right tail of the

expected-revenue curve. Because companies know that they will receive

less revenue for half of their drug sales if the drug is successful, they will

have to decrease their point estimates for how much money drugs will

bring in. And this decrease in the expected lifetime revenue of drugs will

lead pharmaceutical manufacturers to decrease funding for research and

development. Those projects that have a small positive expected value

under the current system will have a negative expected value with the

Program in place. So pharmaceutical manufacturers will not pursue

those projects.

     As detailed above, increased research and development funding is

what allows for more drugs to hit the market. Decreased research and

development funding means that fewer drugs will come to market. Most

of the drugs that won’t come to market because of the Program’s

implementation would have helped society. Some would have increased

people’s quality of life. Other drugs would have extended people’s lives by



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decades. In short, this Court’s affirming the District Court’s order would

harm Americans by decreasing the supply of life-enhancing and life-

saving drugs on the market.

                             CONCLUSION

     This Court should reverse and remand with instructions to enter

judgment for Plaintiffs.

                                      Respectfully submitted,

                                      /s/ John M. Masslon II
                                      John M. Masslon II (PA Bar #317058)
                                      Cory L. Andrews
                                      WASHINGTON LEGAL FOUNDATION
                                      2009 Massachusetts Ave. NW
                                      Washington, DC 20036
                                      (202) 588-0302
                                      jmasslon@wlf.org

                                      Counsel for Amicus Curiae
                                      Washington Legal Foundation
July 15, 2024




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                 CERTIFICATE OF COMPLIANCE

     I certify that: (1) this brief complies with the type-volume limits of

Federal Rule of Appellate Procedure 29(a)(5) as it contains 4,368 words,

excluding the parts exempted by Federal Rule of Appellate Procedure

32(f); (2) this brief complies with the typeface and type-style

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                                       /s/ John M. Masslon II
                                       John M. Masslon II
                                       Counsel for Amicus Curiae
                                       Washington Legal Foundation
July 15, 2024

                       CERTIFICATE OF SERVICE

     I certify that, on July 15, 2024, I served all counsel of record via the

Court’s CM/ECF system.

                                       /s/ John M. Masslon II
                                       John M. Masslon II
                                       Counsel for Amicus Curiae
                                       Washington Legal Foundation
July 15, 2024



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